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                        IN THE UNITED STATESDISTRICTCOURT
                           FORTHE DISTRICTOF DELAWARE

  Atlas Uluslararasi KumanyacihkticA.§ et §
  al.

        Plaintiffs/Intervening Plaintiffs,        § CIVILACTIONNO.: 20-679-RGA
 vs.                                              §
                                                  § INADMIRALTY, Rule 9(h)
 MA^ARICA, IMO 9399741, its engines,              §
 tackle and apparel et al.
                                                  §
        Defendants.                               §



               VERIFIED NOTICE OF NOMWATION PURSUANT TO
            AGREED ORDER AUTHOMZING SUBMISSION OF CREDIT BID

        TO:    All counsel ofrecord

               BrokerCWKELLOCK& CO LTD.

        PLEASE TAKE NOTICE that, pursuant to the Agreed Order Authorizing Submission of

Credit Bid [D. I. 61] (the "Credit Bid Order"), Intervening Plamtiff BANK OF AMERICA

MERRILL LYNCH INTERNATIONAL D.A. C. hereby nominates ROBIN 4 SHIPPING INC., a

corporation incorporated under the laws of the Republic of the Marshall Islands with registration

number 104711, whose registered office is at Tmst Company Complex, Ajeltake Road, Ajeltake
Island, Majuro, MH96960, Marshall Islands, to act asthe "Nominated Entity" within the meaning
given to such tenn in the Credit Bid Order, and take all actions that the Nominated Entity may or
musttakeundertheCreditBidOrder,onthetermsandconditionssetforththerein,includingbutnot
limited to (i) credit bidding atthe interlocutory sale oftheM/V ARICA, (ii) taking title oftheM/V
ARICA if the Nominated Entity is the highest bidder, and (iii) making all payments and deposits
requiredby the Credit Bid Order.

             15 2020
 Dated: July _,                                   Respectfully submitted,
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  OF COUNSEL:                           REED SMITH LLP

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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 Atlas UluslararasiKumanyaciliktic A.§ et §
  al.                                               §
                                                    §
           Plaintiffs/InterveningPlaintiffs,        § CIVILACTION NO.:20-679-RGA
 vs.                                                §
                                                    § INADMIRALTY, Rule 9(h)
 M/VARICA,IMO 9399741, its engines,                 §
 tackle and apparel et al.                          §
                                                    §
           Defendants.                              §


                VERIFICATION OF NOTICE OF NOMINATION PURSUANT TO
                AGREED ORDER AUTHORIZING SUBMISSION OF CREDIT BID

           Pursuantto 28 U.S.C. § 1746, 1 declareas follows:

           1.     My name is JohnNathan Held. I am over the age of21, ofsound mind, and have never

been convicted of a felony. I am a Managing Director of Bank of America N.A. and an authorised

 signatory of Bank of America Merrill Lynch International D.A. C. ("BAML"), and am authorized to

 make this verification on BAML's behalf.

           2.     I havereadthe foregoing Notice ofNomination Pursuantto Agreed OrderAuthorizing

 Submission of Credit Complaint in Intervention (the "Notice") and know the contents thereof.

           3.     Based upon my own personal knowledge, the infonnation contained therein istme and

 correct, andthe issuanceoftheNoticehasbeendulyauthorizedbyBAML.

           4.     I declare under penalty ofperjury under the laws ofthe United States ofAmerica that

 the foregoing is tme and correct.

        Executedthis (-3 dayofJuly, 2020.


                                          Na .       NathanHeld
                                           tie- Authorised Signatory
                                                 Bank ofAmerica Merrill Lynch International D.A. C.
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 England and Wales
 City of London




 AcknowledgedbeforemebythewithinnamedJohnNathanHeldbyvideoappearancethis15th
 dayofJuly2020hehaving solemnly averredthetruth ofthe above statements.




                  ^/   Vv^ V^i
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        '/>/'-, . ^1. '-^'   "'. i, "S.



                  w    ^"
                                             NOTARYPUBLi
                                            LONDON, ENGLAND
      ^^                                  MICHELLE SCOTT-BRYAN
                w
                                          (MyCommission expireswithLife)

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